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                                                                        United States District Court
                                                                          Southern District of Texas

                                                                             ENTERED
                                                                             July 13, 2023
                                                                          Nathan Ochsner, Clerk

                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF TEXAS
                         GALVESTON DIVISION

 SUZONNE KAKOOLAKI,,                        §
                                            §
             Plaintiff,                     §    CIVIL ACTION NO. 3:22-cv-121
 v.                                         §
                                            §
 GALVESTON INDEPENDENT                      §
 SCHOOL DISTRICT,                           §
                                            §         JURY TRIAL DEMANDED
             Defendant.                     §


                                      ORDER


       On this day, the Court considered Plaintiff’s Motion to Withdraw Mr. Paul

Harris as Attorney of record. After reviewing the pleadings and arguments of

counsel, the Court is of the opinion that Plaintiff’s Motion has merit and should be

GRANTED.

       Accordingly, it is hereby ORDERED that Plaintiff’s Motion to Withdraw Mr.

Paul Harris as Attorney of Record is GRANTED. Ms. Dorian Vandenberg-Rodes will

continue to represent the Plaintiff in this matter.



       SIGNED this _____ day of _______________, 2023.



                                        ___________________________________
                                        PRESIDING JUDGE
